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 1 Adam L. Braverman
   United States Attorney
 2 Davis M. Loop
   Special Assistant United States Attorney
 3 Florida Bar No. 11605
   United States Attorney’s Office
 4 880 Front Street, Room 6293
   San Diego, California 92101-8893
 5 Telephone: (619) 546-8835
   Email: Davis.Loop@usdoj.gov
 6
   Attorneys for Plaintiff
 7 UNITED STATES OF AMERICA

 8
 9                       UNITED STATES DISTRICT COURT

10                      SOUTHERN DISTRICT OF CALIFORNIA

11   UNITED STATES OF AMERICA,              Case No.: 18MJ2080-RBB

12             Plaintiff,

13               V.                         NOTICE OF APPEARANCE

14       ALEX IRIAS-LADINES,

15             Defendant.

16

17       TO THE CLERK OF COURT AND ALL PARTIES OF RECORD

18       I, the undersigned attorney, enter my appearance as lead counsel

19 for the United States in the above-captioned case.         I certify that I

20 am admitted to practice in this court or authorized to practice under

21 CivLR 83.3.c.3-4.

22       The following government attorneys (who are admitted to practice

23 in this court or authorized to practice under CivLR 83.3.c.3-4) are

24 also associated with this case, should be listed as lead counsel for

25 CM/ECF purposes, and should receive all Notices of Electronic Filings

26 relating to activity in this case:

27            Name

28            None.
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 1      Effective this date, the following attorneys are no longer

 2 associated with this case and should not receive any further Notices

 3 of Electronic Filings relating to activity in this case (if the

 4 generic “U.S. Attorney CR” is still listed as active in this case in

 5 CM/ECF, please terminate this association):

 6            Names

 7            None.

 8 Please feel free to call me if you have any questions about this

 9 notice.
10      DATED: May 8, 2018.

11                                   Respectfully submitted,

12                                   ADAM L. BRAVERMAN
                                     United States Attorney
13
                                     s/ Davis M. Loop
14                                   Davis M. Loop
                                     Special Assistant U.S. Attorney
15                                   Attorneys for Plaintiff
                                     United States of America
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 1                        UNITED STATES DISTRICT COURT

 2                      SOUTHERN DISTRICT OF CALIFORNIA

 3   UNITED STATES OF AMERICA,               Case No.: 18MJ2080-RBB

 4             Plaintiff,

 5                V.                         CERTIFICATE OF SERVICE

 6       ALEX IRIAS-LADINES,

 7             Defendant.

 8

 9
10       IT IS HEREBY CERTIFIED THAT:

11       I, Davis M. Loop, am a citizen of the United States and am at

12 least eighteen years of age. My business address is 880 Front Street,

13 Room 6293, San Diego, CA 92101-8893.

14       I am not a party to the above-entitled action.          I have caused

15 service of the Notice of Appearance as lead counsel for the United

16 States, and this Certificate of Service, on the following parties by

17 electronically filing the foregoing with the Clerk of the U.S.

18 District Court for the Southern District of California using its ECF
19 System, which electronically notifies them:

20       To: ERIC FISH.                Attorney for Defendant

21       I declare under penalty of perjury that the foregoing is true

22 and correct.

23       Dated: May 8, 2018.
24
                                     ADAM L. BRAVERMAN
25                                   United States Attorney

26                                   s/ Davis M. Loop
                                     Davis M. Loop
27                                   Special Assistant U.S. Attorney
                                     Attorneys for Plaintiff
28                                   United States of America

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